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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

____________________________________
The Estate of John L. McIntyre,      )
                                     )
                      Plaintiff,     )
       v.                            )              Civil Action No. 01-10408-WGY
                                     )
United States of America,           )
                                     )
                      Defendant.    )
                                     )


                                 NOTICE OF SETTLEMENT

       Now comes defendant United States of America, through undersigned counsel, and

hereby notifies this Honorable Court that the parties to the above-captioned matter have executed

an agreement settling the remaining dispute between them. Pursuant to that agreement, the

parties have filed in the court of appeals a Joint Dismissal Agreement under Rule 42(b) of the

Federal Rules of Appellate Procedure seeking dismissal of their pending appeals in this case,

appeal numbers 11-1018 and 11-1019.

                                             Respectfully submitted,


                                             TONY WEST
                                             Assistant Attorney General

Dated: January 20, 2012                      /s Jonathan H. Levy
                                             JONATHAN H. LEVY
                                             (202) 353-0169
                                               Attorney, Appellate Staff
                                               Civil Division
                                               Department of Justice
                                               950 Pennsylvania Ave., NW, Rm. 7231
                                               Washington, D.C. 20530

                                             Attorneys for the United States of America
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Notice of Settlement was filed through the ECF system

and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF).


DATED: January 20, 2012
                                               /s Jonathan H. Levy
                                               JONATHAN H. LEVY
                                               (202) 353-0169
                                                 Attorney, Appellate Staff
                                                 Civil Division
                                                 Department of Justice
                                                 950 Pennsylvania Ave., NW, Rm. 7231
                                                 Washington, D.C. 20530
